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                      IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF TEXAS
                               MARSHALL DIVISION

 SYMBOLOGY INNOVATIONS, LLC
                                                          Civil Action No. 2:17-cv-00030-JRG
        Plaintiff,
                                                          LEAD CASE
        v.
 TEN: THE ENTHUSIAST NETWORK
 MAGAZINES, LLC D/B/A MOTOR TREND,                        JURY TRIAL DEMANDED

        Defendant.



 SYMBOLOGY INNOVATIONS, LLC                               Civil Action No. 2:17-cv-00027-JRG

        Plaintiff,                                        JURY TRIAL DEMANDED
        v.
 SMART, LLC D/B/A SMART TUITION,

        Defendant.




         UNOPPOSED MOTION TO DISMISS PURSUANT TO RULE 41(a)(2)

       Pursuant to Federal Rule of Civil Procedure 41(a)(2), Plaintiff Symbology Innovations,

LLC hereby moves to dismiss all claims by and between it and Defendant Smart, LLC in this

action with prejudice, with each party bearing its own attorneys’ fees, expenses and costs. A

proposed order accompanies this unopposed motion.




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Dated: June 8, 2017                      Respectfully submitted,

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                                         ATTORNEYS FOR PLAINTIFF
                                         SYMBOLOGY INNOVATIONS, LLC




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                              CERTIFICATE OF SERVICE

       The undersigned hereby certifies that a true and correct copy of the above and foregoing

document has been served on June 8th, 2017 to all counsel of record who are deemed to have

consented to electronic service via the Court’s CM/ECF system per Local Rule CV-5(a)(3).

                                                     /s/ Eugenio J. Torres-Oyola
                                                     Eugenio J. Torres-Oyola


                           CERTIFICATE OF CONFERENCE

The undersigned certifies that counsel has complied with the meet and confer requirement in

Local Rule CV-7(h), and that this motion is unopposed.


                                                  /s/ Eugenio J. Torres-Oyola
                                                  Eugenio J. Torres-Oyola




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